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              IN THE UNITED STATES DISTRICT COURT
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             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
12                                         Case No. 8:21-CR-0187-JVS
     UNITED STATES OF AMERICA,
13
                     Plaintiff,
14                                         ORDER OF DETENTION
                v.
15
     JOHN BACA,
16
                     Defendant.
17
18
                                          I.
19
         The Court conducted a detention hearing:
20
         D     On motion of the Government[18 U.S.C. § 31420(1)] in a case:
21
         allegedly involving:
22
              ()a crime of violence.
23
              ()an offense with a maximum sentence of life imprisonment or
24
               death.
25
              (X)a narcotics or controlled substance offense with the maximum
~~
               sentence often or more years.
27
28
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 1               ( )any felony —where defendant convicted oftwo or more prior

 2                offenses described above.

 3               ( )any felony that is not otherwise a crime of violence that involves a

 4                minor victim, or possession of a firearm or destructive device or any

 5                other dangerous weapon, or a failure to register under 18 U.S.C.

 6                § 2250.

 7
 8         D      On motion by the Government or on the Court's own motion

 9 [18 U.S.C. § 3142(fj(2)] in a case allegedly involving, on further allegation by the
10   Government o£

11               (X)a serious risk that defendant will flee

12               ()a serious risk that the defendant will( )obstruct or attempt to

13                obstruct justice;( )threaten, injure or intimidate a prospective witness

14                or juror, or attempt to do so.

15
16         D The Court concludes that the Government is entitled to a rebuttable

17   presumption that no condition or combination of conditions will reasonably assure

18   the defendant's appearance as required and the safety or any person or the

19   community [18 U.S.C. § 3142(e)(2)].

20
21                                           II.
22         D The Court finds that no condition or combination of conditions will

23   reasonably assure: ~ the appearance ofthe defendant as required.

24                      O the safety of any person or the community.
25         ❑ The Court finds that the defendant has not rebutted by sufficient evidence

26   to the contrary the presumption provided by statute.

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28                                          III.

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 1         The Court has considered:(a)the nature and circumstances of the offenses)

 2   charged, including whether the offense is a crime of violence, a Federal crime of

 3   terrorism, or involves a minor victim or a controlled substance, firearm, explosive,

 4   or destructive device;(b)the weight of evidence against the defendant;(c)the

 5   history and characteristics ofthe defendant; and (d)the nature and seriousness of

 6   the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also

 7   considered all the evidence adduced at the hearing and the arguments, the

 8   arguments of counsel, and the report and recommendation ofthe U.S. Pretrial

 9   Services Agency.

10                                          IV.

11         The Court bases its conclusions on the following:

12         D As to risk ofnon-appearance: substantial assets available to

13   defendant/inadequate bail proffer; international connections and history of

14   international travel; sophisticated means regarding ability to flee.

15         O As to danger to the community: instant allegations; government proffer

16   regarding fear of CI(s) and CW(s).

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 1                                                  V.

 2         ❑      The Court finds a serious risk that the defendant will

 3                ❑      obstruct or attempt to obstruct justice.
                  ❑      threaten, injure or intimidate a prospective witness or juror, or

 5                       attempt to do so.

6          The Court bases its conclusions on the following:

 7
 8                                            VI.

 9         IT IS THEREFORE ORDERED that the defendant be detained until trial.

10   The defendant will be committed to the custody ofthe Attorney General for

11   confinement in a corrections facility separate, to the extent practicable, from

12   persons awaiting or serving sentences or being held in custody pending appeal.

13   The defendant will be afforded reasonable opportunity for private consultation

14   with counsel. On order of a Court ofthe United States or on request of any

15   attorney for the Government, the person in charge of the corrections facility in

16   which defendant is confined will deliver the defendant to a United States Marshal

17   for the purpose of an appearance in connection with a court proceeding.

18 [18 U.S.C. § 3142(1)]
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     Dated: 10/22/2021
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                                             HON. ROZELLA A. OLIVER
21                                           UNITED STATES MAGISTRATE JUDGE
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